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FILED

JUL 17 2020

Clerk, U S District Court
District Of Montana

IN THE UNITED STATES DISTRICT COURT Billings
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

SAMSON OIL AND GAS USA., INC.
a Colorado corporation CV 20-54-BLG-SPW

Plaintiff,
ORDER
vs.

XTO ENERGY INC., a Delaware
corporation,

Defendant.

 

 

Upon the parties’ Joint Motion to Stay Proceedings Pending Settlement
Negotiations (Doc. 11), and for good cause appearing,

IT IS HEREBY ORDERED that all deadlines outlined in the Court’s
Preliminary Pretrial Conference Order (Doc. 9) are STAYED pending resolution
and settlement of the pending action.

IT IS FURTHER ORDERED that if after the ninety days or by October
30, 2020, the case has not settled, the parties shall file a status report with the

Court.
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IT IS FURTHER ORDERED that the preliminary pretrial conference
scheduled for Thursday, July 30, 2020 at 1:00 p.m. is VACATED.

The Clerk of Court is directed to notify the parties of the making of this
Order.

Sra
DATED this be day of July, 2020.

0. Lebo,
SUSAN P. WATTERS
United States District Judge
